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 6

 7                               UNITED STATES DISTRICT COURT

 8                            SOUTHERN DISTRICT OF CALIFORNIA

 9

10    FOTU J. LEVU,                               Case No. '19CV1840 W         AGS
11                      Plaintiff,                COMPLAINT FOR DAMAGES
12           v.                                   1. VIOLATION OF THE FAIR DEBT
                                                  COLLECTION PRACTICES ACT, 15 U.S.C.
13                                                §1692 ET SEQ.;
      PLAZA SERVICES, LLC,
14                                                2. VIOLATION OF THE ROSENTHAL FAIR
                        Defendant.                DEBT COLLECTION PRACTICES ACT,
15                                                CAL. CIV. CODE §1788 ET SEQ.
16                                                DEMAND FOR JURY TRIAL
17

18                                           COMPLAINT
19          NOW comes FOTU J. LEVU (“Plaintiff”), by and through his attorneys, WAJDA LAW
20
     GROUP, APC (“Wajda”), complaining as to the conduct of PLAZA SERVICES, LLC
21
     (“Defendant”) as follows:
22
                                        NATURE OF THE ACTION
23
        1. Plaintiff brings this action for damages pursuant to the Fair Debt Collection Practices Act
24
     (“FDCPA”) under 15 U.S.C. §1692 et seq. and the Rosenthal Fair Debt Collection Practices Act
25

26   (“RFDCPA”) pursuant to Cal. Civ. Code §1788, for Defendant’s unlawful conduct.

27                                     JURISDICTION AND VENUE
28
                                                     1
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 1          2. This action arises under and is brought pursuant to the FDCPA. Subject matter jurisdiction
 2   is conferred upon this Court by 15 U.S.C. §1692, 28 U.S.C. §§1331 and 1337, as the action arises
 3
     under the laws of the United States. Supplemental jurisdiction exists for the state law claim
 4
     pursuant to 28 U.S.C. §1367.
 5
            3. Venue is proper in this Court pursuant to 28 U.S.C. §1391 as Defendant conducts business
 6

 7   within, and a substantial portion of the events or omissions giving rise to Plaintiff’s claims occurred

 8   within, the Southern District of California.

 9                                                            PARTIES
10
            4. Plaintiff is a 31 year old consumer residing in Oceanside, California, which is located within
11
     the Southern District of California.
12
            5. Plaintiff is a natural “person” as defined by 47 U.S.C. §153(39).
13
            6. Defendant is a debt collector and debt purchaser holding itself out as an “accounts
14

15   receivable portfolio investment firm” that “manages, and services acquired accounts.” 1 Defendant

16   is a limited liability company organized under the laws of the state of South Dakota with its
17   principal place of business located at 110 Hammond Drive, Suite 110, Atlanta, Georgia.
18
            7. Defendant is a “person” as defined by 47 U.S.C. §153(39).
19
            8.   Defendant acted through its agents, employees, officers, members, directors, heirs,
20
     successors, assigns, principals, trustees, sureties, subrogees, representatives and insurers at all times
21

22   relevant to the instant action.

23                                        FACTS SUPPORTING CAUSES OF ACTION

24          9. The instant action arises out of Defendant’s attempts to collect upon an outstanding
25   consumer debt (“subject consumer debt”) said to be owed by Plaintiff.
26

27

28   1
         https://plazaservicesllc.com/about-plaza-services/
                                                                 2
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 1       10. The subject debt stems from a personal loan Plaintiff received from Check n’ Go, which
 2   was used by Plaintiff for his personal purposes.
 3
         11. Upon information and belief, after Plaintiff defaulted on his purported obligation on the
 4
     subject debt, the subject debt was purchased by Defendant, who in turn initiated collection efforts
 5
     against Plaintiff.
 6

 7       12. Defendant hired and utilized an entity referred to as “Kaplan, Greenburg and Associates,

 8   LLC” (“Kaplan”) in order to attempt to collect the subject debt from Plaintiff.

 9       13. On or about September 18, 2019, Kaplan placed a phone call to Plaintiff’s mother, Sapai
10
     Levu, in an effort to reach Plaintiff.
11
         14. Kaplan used the phone number (844) 328-1554 when contacting Plaintiff’s mother
12
         15. During this phone call, Kaplan stated that Plaintiff owed the subject debt, and further
13
     provided extensive information, including amount and account information, about the subject debt
14

15   to Plaintiff’s mother.

16       16. Plaintiff’s mother has no connection with the subject debt, and Kaplan had no reason to
17   contact Plaintiff’s mother in connection with its debt collection efforts.
18
         17. Plaintiff’s mother subsequently told Plaintiff about the nature of the phone call she received
19
     from Kaplan.
20
         18. Feeling embarrassed that his mother had been told sensitive personal and financial
21

22   information, Plaintiff contacted Kaplan in order to set up a payment arrangement, in hopes of

23   avoiding similar further embarrassment down the line.

24       19. After Plaintiff entered into a payment arrangement with Kaplan, Kaplan sent Plaintiff, via
25   electronic mail, a collection letter outlining the nature of the payment arrangement.
26
         20. The collection letter identified Check n’ Go as the original creditor of the subject debt, and
27
     further identified Defendant as the current creditor of the subject debt.
28
                                                        3
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 1       21. Defendant, as the purchaser and current owner of the subject debt, is both directly liable for
 2   its role in the collection efforts directed towards Plaintiff, as well as vicariously liable for the actions
 3
     of its agent, Kaplan.
 4
         22. Plaintiff has suffered financial loss including expending assets dealing with Defendant’s
 5
     conduct.
 6

 7       23. Plaintiff has further suffered a violation of his state and federally protected interests as a

 8   result of Defendant’s conduct.

 9       24. Additionally, Plaintiff has suffered concrete harm in the form of invasion of privacy,
10
     embarrassment that comes with the inappropriate disclosure of sensitive financial information, and
11
     emotional distress stemming from the actions of Defendant and its agent.
12
                 COUNT I – VIOLATIONS OF THE FAIR DEBT COLLECTION PRACTICES ACT
13
         25. Plaintiff repeats and realleges paragraphs 1 through 24 as though fully set forth herein.
14

15       26. Plaintiff is a “consumer” as defined by 15 U.S.C. §1692a(3) of the FDCPA.

16       27. Defendant is a “debt collector” as defined by §1692a(6) of the FDCPA, because it regularly
17   uses the mail and/or the telephone to collect, or attempt to collect, delinquent consumer accounts.
18
         28. Defendant is engaged in the business of collecting or attempting to collect, directly or
19
     indirectly, defaulted debts owed or due or asserted to be owed or due to others, and debt collection
20
     is the primary purpose of its business.
21

22       29. As a debt collector owning the subject debt, Defendant is not only directly liable for the

23   conduct complained of herein, but is further vicariously liable for the actions of Kaplan that were

24   directed towards Plaintiff and his family member.
25       30. The subject debt is a “debt” as defined by FDCPA §1692a(5) as it arises out of a transaction
26
     due or asserted to be owed or due to another for personal, family, or household purposes.
27
             a. Violations of FDCPA § 1692b(2) and c(b)
28
                                                           4
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 1       31. The FDCPA, pursuant to § 1692b, governs what debt collectors must do when placing
 2   phone calls to any person other than the consumer. Under 15 U.S.C. § 1692b(2), when calling a
 3
     party other than the consumer, a debt collector must “not state that such consumer owes any debt.”
 4
     Furthermore, pursuant to 15 U.S.C. § 1692c(b), “without the prior consent of the consumer given
 5
     directly to the debt collector . . . a debt collector may not communicate, in connection with the
 6

 7   collection of any debt, with any person other than the consumer, his attorney, a consumer reporting

 8   agency . . . the attorney of the creditor, or the attorney of the debt collector.”

 9       32. Defendant violated § 1692b(2) when Kaplan contacted Plaintiff’s mother and divulged that
10
     Plaintiff owed the subject debt. By virtue of providing this information to Plaintiff’s mother,
11
     Defendant’s agent caused Plaintiff to be significantly embarrassed and distressed that his private
12
     information was disclosed to a third party.
13
         33. Defendant further violated § 1692c(b) by communicating with a person other than Plaintiff
14

15   regarding the subject debt absent Plaintiff’s consent.

16           b. Violations of FDCPA §1692d
17       34. The FDCPA, pursuant to 15 U.S.C. §1692d, prohibits a debt collector from engaging “in
18
     any conduct the natural consequence of which is to harass, oppress, or abuse any person in
19
     connection with the collection of a debt.”
20
         35. Defendant violated § 1692d through Kaplan’s communication efforts directed towards
21

22   Plaintiff’s mother. By virtue of contacting a third party with no connection to the subject debt and

23   disclosing information regarding the subject debt, Defendant engaged in conduct which had the

24   natural consequence of harassing, oppressing, and abusing Plaintiff. Defendant’s agent contacted
25   Plaintiff’s mother in the manner it did in an effort to put additional pressure on Plaintiff to address
26
     the subject debt, hoping that the embarrassment Plaintiff felt by virtue of a third party acquiring
27
     knowledge about his financial situation would compel Plaintiff to more readily address the subject
28
                                                          5
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 1   debt. Defendant’s actions achieved their desired result, as Plaintiff agreed to make payment on the
 2   subject debt in order to avoid further embarrassment at the hands of Defendant and its agent.
 3
        WHEREFORE, Plaintiff, FOTU J. LEVU, respectfully requests that this Honorable Court enter
 4
     judgment in his favor as follows:
 5
        a. Declaring that the practices complained of herein are unlawful and violate the
 6         aforementioned bodies of law;
 7
        b. Awarding Plaintiff statutory damages of $1,000.00 as provided under 15 U.S.C.
 8         §1692k(a)(2)(A);

 9      c. Awarding Plaintiff actual damages, in an amount to be determined at trial, as provided
           under 15 U.S.C. §1692k(a)(1);
10

11      d. Awarding Plaintiff costs and reasonable attorney fees as provided under 15 U.S.C.
           §1692k(a)(3); and
12
        e. Awarding any other relief as this Honorable Court deems just and appropriate.
13

14         COUNT II – VIOLATIONS OF THE ROSENTHAL FAIR DEBT COLLECTION PRACTICES ACT
15      36. Plaintiff restates and realleges paragraphs 1 through 35 as though fully set forth herein.
16
        37. Plaintiff is a “person” as defined by Cal. Civ. Code § 1788.2(g).
17
        38. The alleged subject debt is a “debt” and “consumer debt” as defined by Cal. Civ. Code §
18
     1788.2(d) and (f).
19

20      39. Defendant is a “debt collector” as defined by Cal. Civ. Code § 1788.2(c).

21          a. Violations of RFDCPA § 1788.17

22      40. The RFDCPA, pursuant to Cal. Civ. Code § 1788.17 states that “Notwithstanding any other
23
     provision of this title, every debt collector collecting or attempting to collect a consumer debt shall
24
     comply with the provisions of Section 1692b to 1692j, inclusive of, and shall be subject to the
25
     remedies in Section 1692k of, Title 15 of the United States Code.”
26
        41. As outlined above, through their conduct in attempting to collect upon the subject debt,
27

28   Defendant violated 1788.17; and 15 U.S.C. §§1692b, c, and d of the FDCPA. Defendant engaged
                                                        6
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 1   in harassing and noncompliant conduct in its attempts to collect a debt from Plaintiff, in violation
 2   of the RFDCPA.
 3
        42. Defendant willfully and knowingly violated the RFDCPA.             Defendant’s willful and
 4
     knowing violations of the RFDCPA should trigger this Honorable Court’s ability to award Plaintiff
 5
     statutory damages of up to $1,000.00, as provided under Cal. Civ. Code § 1788.30(b).
 6

 7      WHEREFORE, Plaintiff, FOTU J. LEVU, respectfully requests that this Honorable Court enter

 8   judgment in his favor as follows:

 9      a. Declare that the practices complained of herein are unlawful and violate the aforementioned
           statute;
10

11      b. Award Plaintiff actual damages, pursuant to Cal. Civ. Code § 1788.30(a);

12      c. Award Plaintiff statutory damages up to $1,000.00, pursuant to Cal. Civ. Code §
           1788.30(b);
13
        d. Award Plaintiff costs and reasonable attorney fees as provided pursuant to Cal. Civ. Code
14
           § 1788.30(c); and
15
        e. Award any other relief as the Honorable Court deems just and proper.
16

17      Dated: September 25, 2019                 Respectfully submitted,

18                                                By: /s/ Nicholas M. Wajda
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